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 PS8 HIPS-SUP-L-PETITN-01 (06.12)




                               UNITED STATES DISTRICT COURT
                                           for the
                                    DISTRICT OF HAWAII
 U.S.A. vs. Hunter J. Wilson                                               CR 19-00099DKW-KJM-10

                             Petition for Action on Conditions of Pretrial Release

 COMES NOW Erik Iverson, U.S. Pretrial Services Officer Specialist, presenting an official
 report upon the conduct of defendant HUNTER J. WILSON, who was placed under pretrial
 release supervision by the Honorable Kenneth J. Mansfield sitting in the Court at Honolulu,
 Hawaii. The defendant has been under pretrial services supervision since July 23, 2020. The
 current conditions of pretrial release are as follows:

 REFER TO PRETRIAL SERVICES REPORT(S)

 Respectfully presenting petition for action of Court and for cause as follows:

          Pursuant to 18 U.S.C. § 3142(c)(3), Pretrial Services is submitting this report to request
          that the Court review the release order.

          That the defendant's conditions of pretrial release be modified as follows:

          DELETE:

              7.      (7p2) Comply with the Location Monitoring program under the direction of
                      Pretrial Services. The Court authorizes release under the HOME DETENTION
                      restriction which restricts you to your residence at all times except for
                      employment, education, religious services, medical, substance abuse or mental
                      health treatment, attorney visits, court appearances, court-ordered obligations,
                      or other activities pre-approved by Pretrial Services. Pretrial Services is
                      authorized to conduct the initial home installation on a delayed basis.

          ADD:

              •       (7p3) Comply with the Location Monitoring program under the direction of
                      Pretrial Services. The Court authorizes release under the CURFEW restriction.
                      Unless otherwise ordered in Special Condition (7o), you are restricted to your
                      residence during the curfew hours as determined by Pretrial Services.

 PRAYING THAT THE COURT WILL ORDER the aforementioned modification of pretrial
 release.
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           Petition for Action on Conditions of Pretrial Release

 ORDER OF COURT                                      I declare under penalty of perjury that the
                                                     foregoing is true and correct.

 Considered and ordered this 15th day of             Executed on: January 15, 2021
 January, 2021 and ordered filed and made a part
 of the records in the above case.




                                                     ERIK IVERSON
                                                     U.S. Pretrial Services Officer Specialist


                                                     Place: Honolulu, Hawaii
